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UNITED STATES DISTRICT COURT-` .
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMER_ICA

v. cAsE No. 3:19-cr-»|-j'- ’$Q_\Q@@

JOHN R. NETTLETON
MOTION TO SEAL INDICTMENT
AND RELATED DOCUMENTS

Pursuant to Fed. R. Crim. P. 6(e)(4), and in the interests of law
enforcement, the United States of America by AnnaLou Tirol, Acting Chief,
Public Integrity Section of the United States Department of Justice, Todd Gee,
Deputy Chief of the Public Integrity Section, and Peter Nothstein, Trial
Attorney for the Public Integrity Section, hereby moves the Court to direct the
Clerk to seal the Indictment, the file copy of the Warrant, defendant
information sheet, this motion, the Court's order regarding this motion and
any other documents filed in this case that Would identify the defendant
Disclosure of the existence of these documents prior to the arrest of a
defendant could hinder or impede arrest efforts

The United States further moves that the Court direct the C]erk to seal
the Indictment in this case except When necessary to provide certified copies of

the Indictment to the United States Department of Justice Public Integrity

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Section.

The United States further requests that the Court's Order allow the
United States Marshals Service to release certified copies of the arrest Warrant
to the case agent or other appropriate law enforcement and/ or to the United
States Department of Justice Public lntegrity Section, upon verbal request of
the Public lntegrity Section to the United States Marshals Service, without
further order of the Court.

The United States further requests that the Court’s Order allow the
United States Marshals Service or other appropriate law enforcement agency
to enter the arrest warrant into the National Crime Information Center
(NCIC) database or other appropriate law enforcement database, without
further order of the Court.

The United States further requests that the Court's Order allow the
United States to disclose the existence of the Indictment in any subsequent
search and/ or seizure Warrants which may be executed in conjunction with
the arrest of the defendant

T he United States further moves that the Court direct the Clerk to
unseal the documents described herein without further order when any named

defendant is taken into custody.

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By:

Respectfully submitted,

ANNALOU TIROL
Acting Chief

Public lntegrity Section
Criminal Division

U.S. Department of Justice

//@'a\» §ZQ
/s/ Todd Gee

TODD GEE

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